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                         Exhibit 2
                                    Part 2
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   f'eel as   if
            I am standing inside a bird cage with all these sunflower seeds throu,n on my floor."
   Other examiners got up to look at my floor, and all then looked to Ms. Prieto. Ms. Prieto *,as
   continuing her harassment.

   Ms. Prieto and Vincent Wall had created a hostile environment where another examiner, Hal
   Rappaport, had begun to intentionally and obviously be disrespectful and rude. During a lecture,
   I was conversing with Michael Obinna, STIC/EIC. Mr. Obinna and I were discussing search
   technique/strategy and an available for Mr. Obinna to assist me.

   I am 6'3" and about 210 pounds. Hal Rappaport is maybe 5'5" and about 145 pounds. But
   because I had sat and allowed Ms. Prieto and Mr. Wall to abuse and violate me for an
   approximate four-month period, but more so because the PTO officials had failed to do anyhing
   to Ms. Prieto or Mr. Wall, Hal Rappaport walked right up to Mr. Obinna and me, and Mr.
   Rappaportjust began stating his concerns. Seeing that Mr. Rappaport was intentionally being
   rude and disrespectful, I quickly told Mr. Rappaport in a very strong and stern tone of voice,
   "Hal, you saw me talking to Mike; wait your dam turn; and stop being so dam rude. Wait your
   turn." Mr. Rappaport stopped talking, and he walked away. I do not remember Mr. Rappapot
   apologizing for being blatantly rude. It was as if Mr. Rappaport wanted to try his hand at being a
   bully to me.

   Mr. Obinna is a witness to this fact because Mr. Obinna acknowledged that Mr. Rappaport had
   been very rude. Mr. Obinna, however, was not with knowledge of the stress, trauma, hostility,
   abuse, and physically assault that I had endured for a four-month period. I would begin to stand
   up for myself because Ms. Rossi and Mr. Such and Mr. Fields acted with a deliberate
   indifference to all of my concems.

   I had not done anlthing to prompt such abuse and violence from Ms. Prieto, Mr. Rappaport, or
   Mr. Wall. I had only outperformed each and every one of them. Mr. Wall is an attorney who
   claims to have clerked for a Patent Law Judge, a district courtjudge. Mr. Wall's quiz scores did
   not reflect this. He was unable to draft a simple claim during a lab lecture. And Mr. Wall did
   not know (not even as an alleged former clerk for a patent lawjudge) that a 35 USC 102
   rejection was a "conclusion of fact," or that a 35 USC 103 rejection was a "conclusion of law."
   Ms. Prieto and Mr. Wall possessed and acted with extreme envy and jealousy against me despite
   the fact that we are not in competition with each other. Ms. Prieto (and Mr. Wall) could not
   palate, digest, and stomach the fact that an African American/Black male knew more than she
   (and he) did about substantive patent law. To be sure that Ms. Prieto (and Mr. Wall) acted with
   racial animus, I remember that I once reminded Mr. Ahmadi that, specifically, an applicant may
   file an application claiming benefit to an application, and such a filing would not count against
   the patent term.

   I had specifically omitted the fact the referred to application was a "provisional application" and
   that the applicant could claim the benefit of priority under 35 USC section ll9(e), and that
   domestic priority would not count toward the 20-year patent term.

   Mr. Ahmadi had agreed to Ms. Prieto's blanket statement (an absolute statement) that "any claim
   ofpriority would cause the patent term to begin at the earliest application from which priority is

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   claimed." Mr. Ahmadi agreed to Ms. Prieto's statement before all members in Lab I l. Thus, the
   others examiners were being taught "incorrect information."

   I had first raised my hand, and I had waited for Ms. Prieto to finish her incorrect statement. I
   also waited for Mr. Mohsen to call upon me. I stated the correct law, as stated above. Without
   allowing me to further explain the patent law supporting my statement, Ms. Prieto tumed around.
   as she had always done, and she intentionally intenupted me. When I politely asked Ms. Prieto
   to allow me to finish, Ms. Prieto told me to "SHUT UP!"

   Ms. Prieto then immediately looked to Mr. Wall nodded her head, and Mr. Wall nodded his head
   in affirmation. Ms. Prieto then tumed to Hal Rappaport's direction on the other side of the class,
   and she laughed out loud. Mr. Wall also got up from his chair and retumed to his desk. Mr. Wall
   had printed out a part a page out of the MPEP and retumed the page to Ms. Prieto, with section
   circled. That section referred to claims of priority that caused the 20-year patent term to begin at
   the filing date ofthe earliest referenced patent document. I clearly understood that patent law.
   But neither Ms. Prieto nor Mr. Wall-as well as Mr. Mohsen-understood the specific section of
   the MPEP that I spoke on, i.e. MPEP $ 201.04(b). Mr. Mohsen tried to settle down the
   disruption caused by Ms. Prieto and Mr. Wall. Ms. Prieto had turned around and slammed that
   MPEP page on the desk that I sat at that time. I picked up the paper, reviewed the encircled
   section, moved to the pertinent section that I spoke on, circled it and returned the MPEP copy to
   Ms. Prieto stating,'Now, would you please stop harassing me? Would you just please stop
   interupting me because you do not understand what I speak on or ask question about, because
   it's above your head?"

   Mr. Mohsen would likely remember this event because he brought the matter to Mr. Such for and
   answer and clarification. Mr. Mohsen returned stating, "You both were correct but you spoke
   about two different things."

   I understood Ms. Prieto's statement, but     she and Mr. Ahmadi had made a blanket absolute
   statement that any4ime an applicant claims priority the patent term begins 20 years from the
   earliest filed application that benefit is claimed. This absolute statement is incorrect to any
   person who correctly understands patent law related to section I l9(e).

   When I raised my hand, I was called upon by Mr. Mohsen, the point is that Ms. Prieto should
   have not interrupted me. I sat and listened to her incorrect blanket absolute statement. Ifshe had
   given me the same respect, I would have also pointed out the specific MPEP rule and statute for
   the class to take note and review if any so desired. Many in the class, as a matter of fact, the
   entire September 9, 2013 class would testify that I often support my statements with by stating
   specific citations lrom the MPEP, 37 CFR, or 35 USC and that I do so recalling the same from
   memory. Lyle Alexander, a lecturer, is the latest lecturer to witness to this fact.

   Ms. Prieto and Mr. Wall, more likely than not, conspired during the early moming hours when
   those two were alone in the Lab I l, to intentionally and maliciously interrupt me whenever I
   spoke and/or asked a question inside ofthe lab. These two are coconspirators in creating a
   hostile environment. Mr. Wall aided and abetted Ms. Prieto by encouraging her to bring in
   additional knives into the workplace. As stated above, Mr. Wall stood up in the middle of the

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   aisle, and he shouted at the top of his voice, "Violeta, I wouldn't want to mess with you; you got
   a knife." Ms. Prieto multiplied the number of knives that she kept inside of the PTO and at her
   cubicle, out in the open, and on her desktop.

   Ms. Prieto kept multiple illegal knives into the workplace for the sole purpose of causing me
   fear, intimidation, and emotional, mental, and physical distress. Mr. Wall encouraged Ms.
   Prieto's knowing and intentional violations offederal law.

   Each time Ms. Prieto told me to "SHUT UP!", she made me feel as if she was showing and
   demonstrating to all the other examiners: "Look you all. This is the way you talk to a 'N-word"
   (racial epithet ). Do you all see the way I keep telling this "N-word" (racial epithet) to "SHUT
   UP!" Ha. Ha. Ha."

   Ms. Prieto is a racist and a bigot. She is also a liar. Ms. Prieto has misrepresented to Ms. Rossi
   that all I had to do is ask her to take the knives home. This is not true. Proofthat it is not is the
   fact that I asked Ms. Prieto on numerous times, a great many times, to not tell me to "SHUT
   UP!" Without ever respecting my requests, Ms. Prieto continued to tell me to "SHUT UP!"
   If I had approached Ms. Prieto and asked her to please remove her knives from the workplace.
   Ms. Prieto would have exploited that opportunity to stab me in the chest or face with a knife.
   She would have thereafter told Ms. Rossi that I had confronted her. Ms. Rossi, who also acts
   with extreme racial animus, discriminates against me and boasts Ms. Prieto's m isrepresentations
   as if she was quoting the "Bible."

    The truth about Ms. Prieto's knives is that, on the first day she had out the long knife with the srx
    (6) inch blade, several other examiners, including Mr. Wall, reminded Ms. Prieto that knives
    were not allowed in the workplace. I believe that, at least one ofthese other examiners, also
   joined Mr. Wall's conversation telling Ms. Prieto that knives were not allowed at the PTO. Mr.
    Wall would likely deny that he told Ms. Prieto that her knife was not allowed on the PTO
    grounds. But, one of Patricia Reddinglon, Nichole Nquyen, David Frederiksen, or MD Rahman
    also told Ms. Prieto that her long knife with the six (6) inch blade was not allowed inside the
    workplace. Ms. Prieto ignored all and the posted placards at the Security Entrances.

   On December 13,2013, early in the morning, Ms. Prieto once again told me to "SHUT UP!" I
   was merely asking another examiner ifthere were any changes to our schedule. Many
   examiners, Hal Rappaport, were standing and talking about matters unrelated to patent
   examination. And because the PTO had intentionally and deliberately failed and refused to
   properly address Ms. Prieto, I had made up my mind that I would begin to stand up for myself
   against Ms. Prieto. But Ms. Prieto still had the knives, including the knife having a six (6) inch
   blade, which she kept on her desktop. Despite the fact ofthe knives, I replied back to Ms. Prieto,
   "You shut up and quit throwing your sunflower seed shells on my floor. I know it's you doing
   that."

   On multiple occasions, I observed Ms. Prieto doing things that only a mentally disturbed person
   would do. Once, Ms. Prieto would chew the tips of her fingers untilthey bled. She would then
   suck the blood off the tips ofher fingers. Once Ms. Prieto chewed her fingers until a tip bled. A
   drop ofblood fell from her finger onto the desktop. This desk was not Ms. Prieto's assigned

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   desk. She posed a recognized health hazard by spreading blood droplets at commonly used
   desks. After the blood droplet fell onto the top ofthe desk, Ms. Prieto took another finger and
   attempted to wipe up the droplet with her finger. She then licked and sucked her used finger like
   Winnie-the-Pooh sucking and licking honey out ofa honeycomb.

   Ms. Prieto forced Muhammad lslam to leave his desk during a lecture to go to the restroom
   because of Ms. Prieto's disgusting habit. Ms. Prieto was, yet again, disrupting the classroom.
   and other's ability/opportunity to leam.

   On another occasion, I sat focused on the lecture. The seat to my right was empty, which was
   acceptable to me. Interrupting my focus, MD Rahman had moved into that desk adjacent to me.
   Mr. Rahman had moved from a front row desk immediately adjacent to and to the left of the desk
   which Ms. Prieto sat.

   Mr. Rahman tapped me on my shoulder, and I replied, "Come on, I'm trying to pay attention.''
   Mr. Rahman pointed at Ms. Prieto. I turned and saw that Ms. Prieto was vigorously running her
   hands through her hair. She would pull a strand ofhair from her head. She actually plucked the
   strand lrom her scalp. I could see the force she applied to the strand. Ms. Prieto thereafter held
   the strand up by its ends for her review. I could see a visible White object attached to the hair
   strand.

   What happened next caused me to seriously fear that Ms. Prieto is actually mentally insane. Mr.
   Rahman is a witness to Ms. Prieto's behavior. Ms. Prieto would see the White object on the hair
   strand. She would then put the hair strand into her mouth and suck offthe White object as if she
   was licking and sucking on a string of spaghetti. It was absolutely gross. It was also very
   distracting during the lecture.

   Ms. Prieto then demonstrated why Mr. Rahman had to get up from the desk that he sat in prior to
   sitting in the seat immediately to my right. After licking and sucking her strands ofher, like the
   nasty, spit-mixed sunflower seeds, Ms. Prieto then piled the sucked and/or licked hair strands on
   top ofthe desk that Mr. Rahman had sat. This was insane and more than a bit unusual.
   After observing Ms. Prieto's mentally insane actions, I told Mr. Rahman, "Stop watching her.
   You know she's crazy. Turn this way so you cannot see her and don't look at her." Mr. Rahman
   agreed, and we both sat at angles in our chairs so that Ms. Prieto could not be seen, at least
   through the corner of my eyes. Sitting practically sideways in our chairs, things settled for a very
   brief moment. Mr. Rahman, however, subsequently let out a short muffled scream. Mr.
   Rahman's scream distracted my attention away from the lecture, and I tumed quickly and stated,
   "Dude, what is wrong with you?" Mr. Rahman responded pointing to his hand and stating,
   "Look." One of Ms. Prieto's sucked and licked hairs was stuck to Mr. Rahman's hand. Mr.
   Rahman was grossed out by Ms. Prieto's hair being on his hand. As stated above, Ms. Prieto
   placed her strands ofhair on Mr. Rahman's desk after she licked and/or sucked her hair strands.
   not her own desk.

   On December 13, 2013, because of Ms. Prieto's continued aggressive and violent behavior, I
   feared that I could not then sit with my back to this crazy person. Thus, I dialed Security to
   repo( Ms. Prieto for having multiple illegal knives inside the workplace, because Ms. prieto had

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   physically threatened, assaulted, and battered me, and because Ms. Prieto was again acting
   violently and aggressively on the December I 3, 201 3 moming.

   Additionally,                 Lindsay Bourda, a friend olmore than twenty years, had also
                   as stated above,
   advised me that I needed to get the police involved because ofmy obvious fears that Ms. Prieto
   had mental issues and knives inside ofthe workplace. Mr. Bourda informed me that I had called
   him every day for the past two weeks only to talk about how I would defend myself if Ms. Prieto
   came at me with one of her knives.

   SekTek, Inc.'s Response:
   On December 13,2013, SekTek, Inc. Officer Marquez met me on the first floor of the Carlyle
   Place lobby. I informed Officer Marquez (as I have stated above) that Ms. Prieto had
   maliciously harassed me for an approximate four months. I explained to Offrcer Marquez that
   Ms. Prieto would allow every other examiner to ask his or her questions without interruption. I
   informed Officer Marquez that Ms. Prieto, however, would first intentionally and rudely
   interrupt me when I attempted to ask my questions. I also stated that she would shout out aloud
   *SHUT UP!" when I politely asked her not to interrupt me. I told Officer Marquez that the other
   members of the lab were witnesses to Ms. Prieto's constant verbal abuse.
   Further, I told Officer Marquez that Ms. Prieto had physically threatened me. I actually
   demonstrated/acted out how Ms. Prieto had physically threatened me. I demonstrated how close
   in proximity Ms. Prieto had come to my person and how she had shouted out "You trying to
   cause trouble. You trying to cause trouble." I also told Officer Marquez that I feared Ms. Prieto
   was trying to start a fight and that she would stab me with one of her knives. I told Officer
   Marquez that Didarul Mazumder was a witness to this event.

   Also, I also told Oificer Marquez that Ms. Prieto kept four knives out in the open and on top of
   her desk two knives each having an approximate four (4) inch blade, a stainless steel standard
   butter knife, and knife having a blade that was six (6) inches long. I told Officer Marquez that
   MD Rahman was a witness to the knives.

   I told Officer Marquez that I had asked the patrolling officer to remove the knife but that officer
   did not do anything about the knives. That officer is Officer Andre Fields. I told Officer
   Marquez that Officer Fields stated that he had to turn the lights offin the copy room when I
   asked him to go and see Ms. Prieto's knife, the knife with a blade of six (6) inches.
   Officer Marquez asked whether Ms. Prieto had attacked me with any of the knives. I responded,
   "Not with a knife, but she slapped me; she slapped a red ink pen out of my hands and she
   slapped my hands. That's workplace violence." l actually demonstrated/acted out how Ms.
   Prieto had slapped me inside the workplace. I told Officer Marquez that if he asked Ms. Prieto if
   I had written on her hand, she would be so arrogant that, because she is a bigot, she would likely
   say, "yes." I told Officer Marquez that even if Ms. Prieto tried to deny this, Alam Mohammed
   was a witness to Ms. Prieto's physical assault.

   Lastly, I told Officer Marquez that that morning Ms. Prieto was again engaging in violent and
   aggressive behavior, and I wanted her knives out ofthe building because I feared that she'd stab
   me if I began to stand up for myself. Officer Marquez directed me to go back to my desk and
   that someone from Federal Protective Services would call and come to speak with me. I returned

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   to my desk. See Exhibit C (a copy ofthe SekTek, Inc., Incident Report ofthe December 13,
   201 3 incident).


   Federal Protective Services (FPS):
   On December 13, 2013, FPS Inspectors Dearbom and JD Williams (subsequent to Officer
   Marquez) responded to my Security call. Inspector Dearborn directed me to accompany he and
   Inspector JD Williams into Matthew Such's office where he asked me the reason for my Security
   call. Yet again, I offered up the following (same as discussed above):
   I informed Inspectors Dearbom and JD Williams that Ms. Prieto had maliciously harassed me for
   an approxirrate lour months. I explained to lnspectors Dearbom and JD Williams that Ms.
   Prieto would allow every other examiner to ask his or her questions without interruption. I
   informed Inspectors Dearborn and JD Williams that Ms. Prieto, however, would first
   intentionally and rudely intemrpt me when I attempted to ask my questions. I also stated that she
   would shout out aloud "SHUT UP!" when I politely asked her not to interrupt me. I told
   Inspectors Dearborn and JD Williams that the other members of the lab were witnesses to Ms.
   Prieto's constant verbal abuse.

   Further, I told lnspectors Dearbom and JD Williams that Ms. Prieto had physically threatened
   me. I actually demonstrated./acted out how Ms. Prieto had physically threatened me. I
   demonstrated how close in proximity Ms. Prieto had come to my person and how she had
   shouted out "You trying to cause trouble. You trying to cause trouble." l also told Inspectors
   Dearborn and JD Williams that I feared Ms. Prieto was trying to start a fight and that she would
   stab me with one of her knives. I told lnspectors Dearborn and JD Williams that Didarul
   Mazumder was a witness to this event.

   Also, I also told lnspectors Dearbom and JD Williams that Ms. Prieto kept four knives out in the
   open on top of her desk-two knives having an approximate four (4) inch blade, a stainless steel
   standard butter knife, and knife having a blade that was six (6) inches long. I told Inspectors
   Dearborn and JD Williams that MD Rahman was a witness to the knives.
   I told Inspectors Dearborn and JD Williams that I had asked the patrolling officer ofthe Carlyle
   building to remove the knife but that officer did not do anything about the knives. That officer is
   Officer Andre Fields. I told Inspectors Dearborn and JD Williams that Officer Fields stated that
   he had to turn the lights off in the copy room when I asked him to go and see Ms. Prieto's knife,
   the knife with a blade of six (6) inches.

   Inspector Dearborn, like Officer Marquez, also asked whether Ms. Prieto had attacked me with
   any of the knives. I responded similar to my prior response to Officer Marquez, "Not with a
   knife, but she slapped me; she slapped a red ink pen out ofmy hands and she slapped my hands.
   Again, I stated that Ms. Prieto had engaged in workplace violence." Again, using a wall inside
   of Mr. Such's office, I demonstrated/acted out how Ms. Prieto had physically assaulted me and
   who she had slapped me inside the workplace. I also told Inspector Dearbom that ifhe asked
   Ms. Prieto if I had written on her hand, she would be so arrogant that, because she is a bigot, she
   would likely say, "yes." I told lnspector Dearborn that even if Ms. Prieto tried to deny that she
   had slapped me, Alam Mohammed was a witness to Ms. Prieto's physical assault.

   Lastly, I told lnspector Dearbom that that morning Ms. Prieto was again engaging in violent and

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   aggressive behavior, and that was why I wanted her knives out ofthe building because I feared
   that she'd stab me if I begun to stand up for myself.

   Inspector Dearborn directed me to go back to my desk and Inspector JD Williams to go to Ms
   Prieto's desk to look for her knives. I also heard Inspector Dearborn state that they would at
   Ieast issue a citation. Inspector JD Williams and I walked back to Lab 11, room 6024, at the
   same time.

   As I reached my cubicle and began to take a seat, I heard Inspector JD Williams tell the other
   Inspectors/Officers that he did not see any knives. I knew that statement to be false. I stood up
   and stated, "l do not know why you do not see any knives on her desk, there is one right there,"
   pointing to one ofthe knives having a cutting and stabbing blade offour (4) inches. lnspector JD
   Williams retrieved the knife, handed the knife to another Inspector/Officer, and stated, "That's
   one knife." I spoke up again, "l don't know why you do not see that other knife in that clear cup
   right there; it looks just Iike that one. lt has the same blade and handle." Inspector JD Williams
   retrieved that knife. It was the other knife having a cutting and stabbing blade offour (4) inches.
   Inspector JD Williams then proceeded to search Ms. Prieto's desk drawer. However, lnspector
   JD Williams only pulled out Ms. Prieto's top desk drawer about three to four inches max.
   Inspector JD Williams did not search any other drawer, part, or area at Ms. Prieto's desk. Ms.
   Prieto was not at her desk at the time. Ms. Prieto was, as I understood, inside of Mr. Such's
   office with Inspector Dearborn.

   Other examiners were called into Mr. Such's oflfice, such as Patricia Reddington, Didarul
   Mazumder, and Md Rahman.

   Inspector Dearborn called me back into Mr. Such's office. He directed me to take a seat on the
   opposite side of Mr. Such's desk. It was the chair that Mr. Such sat in daily during training. Ms.
   Prieto sat in the chair that the new examiners sat in when discussing cases and matters with Mr.
   Such. Other SekTek, Inc. Officers and/or Inspectors also stood inside ofthe room and at the
   office door.

   Inspector Dearbom explained to Ms. Prieto and me that violence inside ofthe workplace would
   not be tolerated. I nodded my head in agreement and confirmation. Inspector Dearbom further
   stated that all of the witnesses interviewed confirmed my allegations that Ms. Prieto was
   harassing me. Inspector Dearbom also stated that all witnesses interviewed confirmed that "Ms.
   Prieto has been singling Mr. Royal out and bullying him" (emphasis added). See, e.g.,
   Exhibit C (a copy ofthe SekTek, Inc., Incident Report ofthe December 13,2013 incident).
   Immediately, after Inspector Dearborn finished speaking, Ms. Prieto did not hesitate to
   demonstrate her violent nature and behavior in front of Inspector Dearborn. Ms. Prieto leaned
   forward, began pointing her fingers at my face, shouting, "You're being disrespectful. You're
   being disrespectful." Inspector Dearborn, or no other Inspector/Officer, told Ms. Prieto anything
   about her violent and aggressive behavior.

   As a result of Ms. Prieto pointing her hands and fingers at my face, I looked up at lnspector
   Dearbom and the other majority White inspectors/officers, and stated, "You see, this is all of
   your fault. This is your fault." Inspector Dearborn replied, "How is that our fault?" I responded,

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   "Officer Dearbom, you just stood up there and you stated to both of us that violence in the
   workplace would not be tolerated. You also stated that all witnesses testified that she was
   singling me out and bullying me. Despite your statements, she does not hesitate to show you her
   violent nature and behavior. This is all ofyour fault because ofthe way you police treat Black
   people out in the streets, and apparently inside ofthe workplace, even when the Black people are
   the victims and the White people are the wrongdoers. She did not hesitate to point her fingers at
   my face and shout out that I am being disrespectful, but what did I do here that was
   disrespectful? I sat here and just listened to you, and she is pointing her fingers in my face and
   yelling at me. You see, in her racist and bigoted view oflife, she believes that she is way up here
   because she is White (motioning and raising one hand high) and that I am here supposedly here
   in her view because I am Black (motioning with my other hand and lowering that hand
   considerably beneath my raised high hand). Because of her bigoted views, she believes that she
   can verbally assault me, physically threaten me, point her hands and fingers in my face, and also
   physically slap me. But ifl should stand up for myself and say that I do not like it, even call
   Security against her, I am 'being disrespectful.' This is why she is attacking me. She also
   cannot handle the fact that a Black man outscores her on the quizzes we take."
   Federal Protective Services' obvious prejudice against me and favoritism for Ms. Prieto being a
   White female made me feel as if I am without value here at the PTO, and other employees,
   especially White employees, can beat me, and the Federal Protective Service will abuse its
   discretion while acting under color of law to protect the White violator.

   Ms. Prieto still continued her aggressive statements, repeating, "You're being disrespectful."
   Ms. Prieto also stated, "You waited to do this when Vince was not here." I do not know what
   she meant by that. Apparently, Ms. Prieto confuses my remaining professional and courteous
   even in the face of Mr. Wall's and her conspiracy to sabotage my career at the PTO as
   cowardice on my part. The fact that I maintained grace and professionalism, apparently, was
   misunderstood to be submission on my part by Ms. Prieto.

   I did not know Mr. Wall's whereabouts. Mr. Wall could have easily been at his Tech Center
   discussing cases with his SPE or Primary Examiners. I did not understand Ms. Prieto's
   assertions; however, it showed and proved that she and Mr. Wall were acting in concert to
   create a hostile environment. Perhaps Ms. Prieto should have waited for Mr. Wall's return
   before she had verbally attacked me again. Even ifshe had done so, I would have dialed
   Security on her and Mr. Wall. Mr. Wall, even being an attomey, is not immune from the liability
   he created and assumed by harassing me within the workplace, and conspiring to sabotage my
   career here at the USPTO, at least not if I should decide to file a civil suit against Ms. Prieto and
   Mr. Wall.

   In response my statements to Inspector Dearbom, Inspector Dearborn directed me to go back to
   my desk. I retumed to my desk. Ms. Prieto remained inside of Mr. Such's office for some time
   thereafter, but when she came back into Lab I l, Ms. Prieto began packing her personal
   belongings and laptop.

   Hal Rappaport went to Ms. Prieto's cubicle area, and Mr. Rappaport asked her if she was okay.
   Mr. Rappapoft had not inquired as to whether I was okay. Mr. Rappaport again demonstrated his
   obvious bias and prejudice regarding the matter. Ms. Prieto responded to Mr. Rappaport,s

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    inquiry, "He stabbed me in the back. He stabbed me in the back."

    I overheard Ms. Prieto's statement, yet I remained silent. I thought to myself, "lncredible, she is
    definitely crazy. We were never friends upon the first time she told me to "SHUT UP!" I later
    informed Jennifer Ware of Human Resources about Ms. Prieto's conduct. See Exhibit S (a copy
    ofan email chain to, inter alia, Human Resources Jenniler including my concerns related, inter
    alia, to Violeta Prieto's continued creation of a hostile environment). I would later see and
    partially hear Ms. Prieto and Mr. Rappapon discussing the incident on two other occasions the
    same day. Ms. Prieto was moved to another lab.

    Human Resources Jennifer Ware:
    On December 13,2013, after I had been investigated by SekTek, lnc. and thereafter the Federal
    Protective Services, and then sometime afterward that, I received a telephone call from Jennifer
    Ware. I had not called Ms. Ware or Human Resources. Ms. Ware directed me to report to her
    office at the Human Resources building. I complied with Ms. Ware's direction.
    When I arrived at Ms. Ware's office, Ms. Ware did not tell me how she had leamed of the
    December I 3, 201 3 incident or my having called Security. Ms. Ware only told me that she was
    investigating the incident.

   As I done with the SekTek, Inc. officers and the Federal Protective Services inspectors, I told
   Ms. Ware the following:

   Ms. Prieto had maliciously harassed me for an approximate four months. I also shared that
   Vincent Wall had harassed me too and that Mr. Wall was also aiding and abetting Ms. Prieto in
   her harassment. I explained to Ms. Ware that Ms. Prieto would allow every other examiner to
   ask his or her questions without interuption. I informed Ms. Ware that Ms. Prieto, however,
   would first intentionally and rudely interrupt me when I attempted to ask my questions. I also
   stated that she would shout out aloud *SHUT UP" when I politely asked her not to intemrpt me.
   I told Ms. Ware that the other members of the lab were witnesses to Ms. Prieto's constant verbal
   abuse.

   Especially, I shared with Ms. Ware that it was not some mere clash or differences of
   personalities. I reiterated that Ms. Prieto would intentionally and maliciously wait until I had
   raised my hand and until I was called upon by a lecturer, then as I was asking my question or
   answering a question, Ms. Prieto would intentionally interrupt me. I would politely ask Ms.
   Prieto to please not interrupt me, but Ms. Prieto would always without failing shout,.,SHUT
   UP!" I shared with Ms. Ware that I had not interrupted Ms. prieto, but that at all times, the
   lecturer had given me the floor to speak, but Ms. Prieto caused conflict in the class by
   interrupting me.

   Further, I told Ms. ware that Ms. Prieto had physically threatened me. And just like I had done,
   I actually demonstrated/acted out how Ms. Prieto had physically threatened me. I demonstrated
   how close in proximity Ms. Prieto had come to my person and how she had shouted out,,you
   trying to cause trouble. You trying to cause trouble." I also told Ms. ware that I feared Ms.
   Prieto was trying to start a fight and that she would stab me with one of her knives. I told Ms.
   Ware that Didarul Mazumder was a witness to this event.

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   Also, I also told Ms. Ware that Ms. Prieto kept four knives out in the open on top of her desk
   two knives having an approximate four (4) inch blade, a stainless steel standard butter knife, and
   knife having a blade that was six (6) inches long. I told Ms. Ware that MD Rahman was at least
   one witness to the knives. I shared with Ms. Ware that the police officers had found the two
   knives having the blades offour (4) blades, but that the officer had not searched Ms. Prieto's
   desk properly, in my opinion, because he only pulled out Ms. Prieto's top drawer about three to
   no more than lour inches. I told Ms. Ware that I feared stating to the officer that he was not
   searching Ms. Prieto's desk to find a knife because ofthe way he performed his search.
   I told Ms. Ware that I had asked the patrolling officer to remove the knife but that officer did not
   do anyhing about the knives. That officer is Officer Andre Fields. I told Ms. Ware that Officer
   Fields stated that he had to tum the lights off in the copy room when I asked him to go and see
   Ms. Prieto's knife, the knife with a blade of six (6) inches.

   Further, I told Ms. Ware that that morning Ms. Prieto was again engaging in violent and
   aggressive behavior, and I wanted her knives out olthe building because I feared that she'd stab
   me if I begun to stand up for myself.
   I told Ms. Ware that Officer Dearborn had explained to Ms. Prieto and me that violence inside of
   the workplace would not be tolerated. I shared that I nodded my head in agreement and
   confirmation. I shared that Officer Dearborn further stated that all ofthe witnesses interviewed
   confirmed my allegations that Ms. Prieto was harassing me. I shared that Officer Dearborn also
   stated that all witnesses interviewed confimed that "Ms. Prieto has been singling Mr. Royal
   out and bullying him" (emphasis added). See, e.g., Exhibit C (a copy ofthe SekTek, Inc.,
   Incident Report of the December I 3, 201 3 incident).

   Further, I shared that immediately after Officer Dearbom had finished speaking, Ms. Prieto did
   not hesitate to demonstrate her violent nature and behavior in front ofOfficer Dearbom. I shared
   that Ms. Prieto leaned forward, began pointing her fingers at my face, shouting, "You're being
   disrespectful. You're being disrespectful." And I shared that Officer Dearborn, or no other
   Officer, told Ms. Prieto anlthing about her violent and aggressive behavior.
   I shared that as a result of Ms. Prieto pointing her hands and fingers at my face, I looked up at
   Officer Dearbom and the other majority White officers, and stated, "You see, this is all ofyour
   fault. This is your fault." Officer Dearborn replied, "How is that our fault?" And I responded,
   "Officer Dearborn, youjust stood up there and you stated to both ofus that violence in the
   workplace would not be tolerated. You also stated that all witnesses testified that she was
   singling me out and bullying me. Despite your statements, she does not hesitate to show you her
   violent nature and behavior. This is all of your fault because of the you police treat Black people
   out in the streets, and apparently inside ofthe workplace, even when the Black people are the
   victims and the White people are the wrongdoers. She did not hesitate to point her fingers at my
   face and shout out that I am being disrespectful, but what did I do here that was disrespectful? I
   sat here and just listened to you, and she is pointing her fingers in my face and yelling at me.
   You see, in her racist and bigoted view of life, she believes that she is way up here because she is
   white (motioning and raising one hand high) and that I am here supposedly here in her view
   because I am Black (motioning with my other hand and lowering that hand considerably beneath
   my raised high hand). Because of her bigoted views, she believes that she can verbally assault
   me, physically threaten me, point her hands and fingers in my face, and also physically slap me.

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    But ifl should stand up for myself and say that I do not like it, even call Security against her, I
    am 'being disrespectful.' This is why she is attacking me. She also cannot handle the fact that a
    Black man outscores her on the quizzes we take."

   I shared that after I had stated my reasoning for my statements against the investigating police
   officers, Ms. Prieto still continued her aggressive statements, repeating, "You're being
   disrespectful." Ms. Prieto also stated, "You waited to do this when Vince was not here." I
   shared that I do not know what she meant by that. I shared that apparently, Ms. Prieto confuses
   my remaining professional and courteous even in the face of Mr. Wall's and her conspiracy to
   sabotage my career at the PTO as cowardice on my part. The fact that I maintained grace and
   professionalism, apparently, was misunderstood to be submission on my part by Ms. Prieto.
   I shared that I did not know Mr. Wa[['s whereabouts. Mr. Wall could have easily been at his
   Tech Center discussing cases with his SPE or Primary Examiners. I did not understand Ms.
   Prieto's assertions; however, it showed and proved that she and Mr. Wall were acting in
   concert to create a hostile environment. I shared that perhaps Ms. Prieto should have waited
   for Mr. Wall's retum before she had verbally attacked me again. I shared that even if she had
   done so, I would have dialed Security on Ms. Prieto and Mr. Wall. I shared that Mr. Wall, even
   being an attomey, is not immune from the liability he created and assumed by harassing me
   within the workplace, and conspiring to sabotage my career here at the USPTO, at least not I
   should decide to file a civil suit against Ms. Prieto and Mr. Wall.

   I shared that in response to my statements to Inspector Dearborn, Inspector Dearborn directed me
   to go back to my desk, and I had returned to my desk. I fu(her shared Ms. Prieto remained
   inside Mr. Such's office for some time thereafter, but when she had come back into Lab 11, Ms.
   Prieto began packing her personal belongings and laptop.

   I shared that Hal Rappaport went to Ms. Prieto's cubicle area, and Mr. Rappaport asked her if
   she was okay. I shared thatMr. Rappaport had not inquired as to whether I was okay. I shared
   that Mr. Rappaport demonstrated his obvious bias and prejudice regarding the matter. I shared
   that Ms. Prieto responded to Mr. Rappaport's inquiry, "He stabbed me in the back. He stabbed
   me in the back."

   I shared that I overheard Ms. Prieto's statement, yet I remained silent. I thought to myself,
   "lncredible, she is definitely crazy. We were never friends upon the first time she told me to
   'SHUT UP!" I later informed Jennifer Ware of Human Resources about Ms. Prieto's conduct.
   S'ee Exhibit S (a copy ofan email chain to, inter alia, Human Resources Jennifer including my
   concerns related, inter alia, to Violeta Prieto's continued creation ofa hostile environment). I
   would later see and partially hear Ms. Prieto and Mr. Rappaport discussing the incident on two
   other occasions the same day. Ms. Prieto was moved to another lab.

   Additionally, I stated to Ms. Ware how I had sent Jessica Rossi an email on November 7,2013
   prior to the December 13, 201 3 incident about Ms. Prieto's repeated harassment and violent
   behavior. I also shared that Ms. Rossi had responded to me in a very rude, curt, and angry
   manner when I merely asked Ms. Rossi if she had received my email. I further shared that Ms.
   Rossi had frightened me from expressing my concerns. I also shared that because of Ms. Rossi's
   visibly angry facial expressions and rude and curt tone ofvoice, I had informed Ms. Rossi that I

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    no longer needed to talk to her when Ms. Rossi contacted me a few days after Ms. Rossi had
    been intentionally rude and impolite. See Exhibit U (a copy ofan email chain to Jessica Rossi on
    November 7,2013).

    Ms. Rossi has never met with me regarding this November 7,2013 email request because Ms.
    Rossi first sought to be extremely rude and angry to frighten me away.
    IfJessica Rossi had not been so intentionally and discriminatorily prejudiced against me, and if
    she because ofher racial animus had not been so rude and angry frightening me away from
    expressing my concerns to her, Ms. Rossi addressed my email and concerns prior to the
    December 13,2013 incident. Ms. Rossi could have prevented my need to call Security if she had
    applied the same behavior to her statements and representations as a Class Manager that she
    applied to me against Ms. Prieto. Apparently, there was "No Open Door Policy" with Ms. Rossi.
    Ms. Rossi, apparently, had received complaints from Ms. Prieto, and or Mr. Wall, but rather than
    do a fair and actual investigation into the unknown's allegations, Ms. Rossi stereotyped me and
    made conclusions based upon mere speculations and unfounded conclusions because of her
    predilection s and racial animus. kr instances of conflict between a Black male and a White
    female, Ms. Rossi's prejudices and predilections are prevalent.

    If Ms. Rossi had actually spoken to the other examiners in Lab I I or me, she would have
    discovered that Ms. Prieto was in fact misrepresenting the truth. Ms. Rossi would have
    discovered that Ms. Prieto is a liar. See, e.g., Exhibit C (a copy ofthe SekTek, Inc., Incident
    Report of the December 13, 2013 incident).

    Ms. Prieto consistently without failure deceitfully states that I interrupted a lecturer or her. Ms.
    Prieto, however, is simply incapable of perceiving what is actually taking place or what has
    actually taken place because Ms. Prieto is filled with bigotry. To be sure, no lecturer has ever
    told me or reported that I interrupted the lecturer. Additionally, if I sit and allow Ms. Prieto to
    ask whatever question she desires, and I allow her to receive an answer without interruption, it
    cannot be said that I interrupted her because I thereafler raise my hand, receive
    acknowledgement and the floor to speak, and then ask my question or state my disagreement to
    Ms. Prieto's statement/answer. Ms. Prieto is absolutely incapable ofunderstanding this fact
    because ofher racist and bigoted views. Thus, Ms. Prieto continues to slander, defame, and libel
    me, my character. and reputation.

    I also shared with Ms. Ware that it had been my personal experience that when a African
    Arnerican/Black had filed a complaint of harassment, hostile environment, and discrimination
    against a Caucasian/White person, and the administration, i.e. the higher-ups, were White, they
    fired the Black victim, cutting of his livelihood. and not caring at all that the Black person was
    the complainant and victim. I shared that I hoped the USPTO was different, and that the PTO
    would not fire me when I am the victim. and there are witnesses to the fact that I am the victim
    'l'o be sure that I did in fact make such above statements to Ms. Ware. i.e. about the White
    higher-ups not having been lair in my expericnces, even when I was the victim, I sent Ms. Ware
    an email on Monday, December 16,2013 at l2:15 pm wherein I stated to Ms. Ware, "Just an
    fyi. I shall now allow the authority to do its job. I, however, state that it would be unfair to
    punish the victim." See Exhibit S (a copy olan email chain to, inter alia, Human Resources
    Jennifer including my concerns related, inter alia, to Violeta Prieto's continued creation ofa

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    hostile environment)

    I shared with Ms. Ware that, thus far, in the investigation of the December 13,2013 incident, all
    officials ofthe PTO and Security had made me feel as though I was a second class citizen, not to
    be protected equally under the same laws. I explained my basis for the fact that the FPS and
    PTO security had failed to arrest, issue a citation, or even order Ms. Prieto to stop her violence
    while inside Mr. Such's office, as well as conduct a proper search of Ms.Prieto's desk area. I
    shared that I was being treated differently because Ms. Prieto is a White female and I am a Black
    male.

    Further, I shared with Ms. Ware the above statements about how Vincent Wall had harassed me
    for several weeks forcing me to have to bring the harassment of Vincent Wall to Matthew Such,
    as stated above. I shared that Mr. Wall after one or two days shifted his bullying and harassment
    to those ofthe Islamic faith, as explained above.
    I shared that one ortwo days later, Mr. Wall started harassing another student, MD Rahman, who
    is of the Islamic faith. I shared that Mr. Wall would stand in the middle of the aisle and shout
    out in a loud voice so that all could hear, "Hey MD, I want to join your religion because I want
    to have all those days off." Mr. Rahman indicated to Mr. Wall that he and the others of the
    lslamic faith did not get anlthing free and that he and the others had to make up the days he and
    the others had taken off.

    I shared that the very next day and on multiple subsequent days, Mr. Wall continued to mock and
    harass Mr. Rahman before others of the Islamic faith (as explained above). Mr. Wall asked
    questions of Mr. Rahman, such as: "Who is your leader because I want to join your religion?"
    "How do I join your religion because I want to get the same days offas you did?" Or. in
    response to Mr. Rahman asking for Mr. Wall's reasoning for demanding to be allowed into the
    room set aside for prayer during the Islamic prayer time, "Is your God the same as my God?"
    I shared that Islam Muhammad had admitted that he found Mr. Wall's statements to be
    disrespectful and mocking those of the Islamic faith. I shared that MD Rahman also found Mr.
    Wall's statements to be disrespectful, but Mr. Rahman feared for hisjob because ofthe "Fire for
    any reason" statement put upon all new examiners. and because olthe stereotypes put upon those
    of the Islamic or Muslim faith.

   I shared that instead of continuing to harass me, Mr. Wall had started to harass Mr. Rahman and
   that Violeta Prieto had elevated the level of harassment upon me. I shared that Mr. Wall and Ms.
   Prieto were acting together to create a hostile environment (as discussed above).
   Lastly, I provided Ms. Ware with written documentation of the events that I have complained of
   above, including, having documented Mr. Wall's mockery of those of the Islamic faith, a Cease
   and Desist letter hand-delivered to Mr. Wall, emails, my written notes, etc. Ms. Ware made
   copies of these documents for alleged investigation.
   Ms. Ware also stated that she would drali of a summary of my complaint and she would send me
   her summary for my review. See Exhibit V (a copy of an email exchange between Jennifer Ware
   and Gregory Royal on December 20, 201 3 and December 23, 2013 documenting that Ms. Ware
   had agreed to forward her summary of Mr. Royal's Statement to Mr. Royal for his review).
   On or about December 15,2013,1 remembered that I had not shared with Ms. Ware (Human
   Resources) that Violeta Prieto had physically assaulted and battered me inside ofthe USPTO

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   workplace. On December 16,2013, at 8:21 am,I sent Ms. Ware an email that contained explicit
   statements that Ms. Prieto had physically assaulted and battered me, i.e. Ms. Prieto slapped me,
   inside ofthe workplace. See Exhibit E at the email ofDecember 16,2013 at 8:21 am on page
   numbered 3 and at the first full paragraph.

   On or about a few or four days later, I placed a call to Ms. Ware to request "Other Time" for the
   events ofDecember 13, 2013 because "it was not my fault that I had to call the police on Ms.
   Prieto." I further stated to Ms. Ware that I am the victim and was also a victim of a hostile work
   environment and workplace violence because Ms. Prieto had slapped me. I told Ms. Ware that
   there was a witness to Ms. Prieto slapping me, Alam Mohammed.
   Ms. Ware stated that I had not told her that Ms. Prieto had slapped me. I responded that I had
   forgotten to state so during our meeting on December 13, 2013 because a lot had happened prior
   to our meeting. I further stated that "l did send you," meaning Ms. Ware, and email regarding
   Ms. Prieto's workplace violence. Ms. Ware stated, "l did not see any email containing that." In
   reply, while on the telephone with Ms. Ware, I specifically pointed and walked Ms. Ware to the
   specific email and paragraph. I read the explicit statement:

   And during a lecture break, instead of going on her break, she leaped from her desk in front of
   rne, and began chastising me and swinging and pointing her hands and fingers at invading my
   personal space. She stood over me doing this. I was sitting and holding an ink pen which I used
   to take notes. She put her hands so close to my person and face that her hand stuck my hands and
   the ink pen. She had to gall and nerve to say, "You wrote on me." I replied (something to the
   eflect), "You hit me and the pen and knocked it out ofmy hand; you wrote on yourself. Quit
   putting your hands in my face, get away from me, and go back to your desk.["] I believe strongly
   that it was Alam Mohammed sitting adjacent to me and when I looked at him. he smiled and
   nodded in agreement to my statements.

   Ms. Ware, therefore, was at all times material, absolutely aware that I had complained about Ms.
   Prieto's harassment, violent threats inside the workplace, and commission ofphysical assault and
   battery, i.e. workplace violence by slapping me.,See Exhibit E at the email of December 16,
   2Ol3 at 8:21 am on page numbered 3 and at the first full paragraph. On December 23, 2013, Ms.
   Ware would tell me that she would not forward my Statement to me for my review and that she
   (and Human Resources) had completed the investigation and had closed the file. See Exhibit V.

    After hearing Ms. Ware's decision to close the file on my complaints about a hostile
    environment, harassment in the workplace, violent threats in the workplace, and workplace
    violence, etc., I was very upset and hurt. I could not perlorm myjob duties because it is unfair to
   just close my file containing my complaint that Violeta Prieto slapped me at the PTO. This is
    painful and hurtful.

   If I went   and slapped Ms. Prieto, ['luman Resources would not just close Ms. Prieto's   file
   because we are no longer in the same lab room. And this fact is why the PTO and Human
   Resources' decision and handling of this matter are discriminatory. I am made to feel that I am
   without value here at the USPTO. I am made to feel by Ms. Ware and Human Resources that
   because I am an African American/Black male, any person could disrespect me and physically


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    threaten me and physically abuse and beat on me, and the USPTO would not care or do anlthing
    about it.

    As a result of Human Resources and Ms. Ware closing my case, I am hurting internally and
    emotionally, and I have become mentally and emotionally distracted. Ms. Ware, Jessica Rossi,
    Gary Jones and Deborah Reynolds (through their deliberate indifference), and the PTO Security
    and Federal Protective Services have caused me to change from being happy to being unhappy
    and somewhat angry, and depressed, especially unable to sleep or focus. It is extremely difficult
    for me to focus on myjob duties because I have been physically violated inside the PTO, and the
    PTO officials are covering up the workplace violence. I keep seeing Ms. Prieto violating me and
    slapping me, and I keep hurting because the PTO is maliciously and actively covering up Ms.
    Prieto's workplace violence.

    All PTO officials involved  have treated me as if I am something less (emphasis on the
    "something," not someone, added) than Ms. Prieto and Mr. Wall. Feeling hopeless and
    depressed, I sit daily and dwell, and I sit daily and dwell upon the thought that ifl had acted like
    Vincent Wall or, especially, acted like Violeta Prieto,i.e. if I had slapped Ms. Prieto, being a
    Black male, those involved PTO officials would have quickly fired me, i.e. quick, fast, and in a
    huny-in a New York second.

   I sit and dwell fearing that the PTO will soon fire me because those PTO officials, especially
   Jessica Rossi, are calculating to fire me and to protect Ms. Prieto because she is a White lemale
   Ms. Prieto is the wrongdoer, and she is a repeat violator, but the PTO offlcials protect her.
   After asking to be nroved to my Tech Center, I was allowed to move on December 20, 201 3. I"
   however. viewed the move as those PTO olficials simply realizing that Ms. Prieto could not
   control herself. she could not control her violent nature.

    On January 28,2014,1 contacted Jennifer Ware to complain about how Human Resources had
   just swept me aside ignoring my complaints about workplace threats and workplace violence.
    Ms. Ware replied, "Didn't the security guard tell you that the knives were not illegal?".See
   Exhibit T (a copy ofmy notation on January 28,2014 recording that Jennifer Ware alleges that
   an unknown security guard had told me that Violeta's knife having a six (6) inch blade was not
    illegal). I answered, "No security guard or officer ever told me that Violeta's knives were not
    illegal. In fact, the CPL security guard told me that he would look into it, but he never got back
   to me. But I went back to that CPL security guard and requested that he come and see Violeta's
   knife, the one with the six (6) inch blade. lt was out on top ofher desk. That security guard told
   me that he had to make certain that the lights were ol'f in the copier room, that's room 6031. And
    I heard the federal police officers say that they would at least issue a citation to Ms. Prieto." See
    Exhibit

   Jessica Rossi (formerly Jessica Ward):
   On December 16, 2013, Jessica Rossi arived to the Carlyle building, a business day after FPS
   and SekTek, Inc. had finished interviewing me and Ms. Prieto had been moved out of Lab I l.
   Ms. Rossi directed me to meet her in Matthew Such's office. Mr. Such was present during this
   meeting.



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    Ms. Rossi began by stating that she wanted to talk to me about the incident, and she began by
    telling me. "Gregory, the Federal Police Officers risk their lives every day protecting
    persons [. . .]" Immediately, being utterly annoyed by what I perceived Ms. Rossi to be saying
    was that I should not have dialed Security, I interrupted, saying, "Excuse me, excuse,
    respeclfully, Jessica, I know that you are not trying to tell me that I should not have dialed
    Security because I feared for my life and safety when Violeta had four knives in the lab room;
    she has been acting crazy and doing crazy and insane things; and she has threatened me and she
    slapped me. I know you are not telling me that I should not have dialed Security to protect my
    life. Are you saying that I am not a person?"

   Ms. Rossi shifted her body and position and asserted in a stronger tone of voice, "Gregory, I am
   saying that if you felt you had to dial Security then you had a right too; but as your Class
   Manager, if I get anymore reports that you are being disruptive in the lab, we are going to have
   to take stronger actions including termination." I responded saying, "Well Jessica, I am not the
   disruptive one and there are witnesses to this f'act. One thing that I am not, and you and whoever
   can say whatever you want about me, but the one thing that I am not is either a liar or a thief. I
   am not the one being disruptive. I raise my hand. I am called upon and given the floor by a
   lecturer, and when I begin to speak, answer, or ask a question, Violeta intentionally and
   maliciously interrupts me. When I ask her, even in polite tones ofvoice, to please not interrupt
   me, she turns around and yells, 'SHUT UP!' She then turns to Vince who gives her a head nod,
   and then she turns to the other side ofthe class and chuckles and laughs, 'Ha, ha. ha.' That's
   being disruptive. She has done this since the beginning weeks oftraining, especially after we
   took the first quiz, and I believe she scored a 40 (or 60 at best) on her quiz. She has threatened
   me physically, getting up in my face and shouting, 'You trying to cause trouble. You trying to
   cause trouble.' Didarul is a witness to this. She has slapped me. Because I first raised my hand
   and was acknowledged by the lecturer, when I disagreed with her, during a break, shejumped
   from her chair, charged to the back ofthe lecture area, pointed her fingers in my face, and while
   pointing her fingers in my face, close to my face, and flailing her hands at me, she slapped a red
   ink pen out ofmy hands. She slapped my hands too. Then, she got red ink on the back ofhe
   hand because she had backhand slapped me. She had the gall and audacity to say that I wrote on
   her. I had to tell her that she wrote on herself because she slapped me. I told her to keep her
   fingers and hands out ofmy face and to go sit down and get away from me. I told her that she
   was harassing me. I then turned to Alam Mohammed and asked, 'Didn't she slap me?' "Didn't
   she write on herselfl'And Alam Mohammed nodded in agreement laughing. I said to Alam,
   'She's crazy.' And Alam again nodded in agreement."

   I f'urther stated, "You call me in here and you accuse me ofbeing disruptive when you have
   never talked to me or any witnesses but Violeta, and likely her coconspirator Vincent Wall.
   Vince is enabling Violeta. Vince is aiding and abetting her. She looks to Vince every time she
   rudely interrupts me, and neither she nor Vince understand what I am actually asking the
   lecturer, so they both need to allow me to ask my questions. Yeah, I had to complain on Vince
   too (l arn looking at Mr. Such at that time). And Vince does not know what I am talking about.
   Hc claims to be a lawyer who clerked for a Patent Lawjudge, but I do not know how he did that
   because he did not do better than me on his quizzes and he did not even know that a 102
   rejection was a conclusion of fact and that a I 03 rejection was a conclusion of law. So maybe he
   lied on his resume and application. Check that out."

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    Ms. Rossi interrupted my rant, saying, "Gregory, we are not talking about what Vincent knows
   or put on his application, we are talking about the disruptions in the classroonr."
   I replied, "Okay, let's talk more about Violeta being disruptive and not me. Violeta sits up in
   class all day, all day long, chewing, clucking, chucking on sunflower seeds like a'chipmonk on
   steroids,' that's very distracting and disruptive. I ignore it to try to keep peace but I can't focus.
   And she stacks those empty sunflower seed shells on top of her desk with spit mixed in them.
   That's a health violation. And she throws those nasty, spitty shells on my cubicle floor. Why
   don't you go and ask the class that? I came into work the other day and there were sunflower
   shells all over my floor. I know that they vacuum and clean every night because I stay to 9:00
   pm every night. Tom (Artman, the lab l2 supervisor) can attest that I stayed very late. Only
   Violeta and Vince arrive earlier than me, so either one ofthem threw those shells on my cubicle
   floor. There are witnesses to the shells being on my floor because I stood up and loudly asked
   the class, 'Guys, why are there sunflower shells all over my floor; why do I feel like I am
   standing up in a bird case?'And other examiners looked and came to look at my cubicle floor.
   and all ofthem then turned and gave Violeta a quick look. It was obvious she had taken her pile
   and reach around the divider wall to toss her shells on my floor instead putting her shells in her
   trash can. And why Jessica, can you tell me, 'why does Violeta need four knives inside ofthe
   lab room?' She has a knife having a cutting and stabbing blade of six (6) inches, that's a sword.
   And I measured that knife. She has two knives that have a cutting and stabbing blade of(4)
   inches. And she has a stainless steel butter knife. it's the standard kind, but I can tell you four
   ways to kill someone with a butter knife Jessica, 'Do you want me to tell you?"' Ms. Rossi
   responded, "No, that's not necessary."

   I quickly continued, "Then, how many knives does she need to cut fruit, as you say Jessica? As
   you make excuses for Violeta and accuse only me ofbeing the disruptive one, please enlighten
   me and tell me how many knives does she need to have? And she keeps all the knives on top of
   her desk out in the open for easy access. And Vincent Wall stands in the aisle and shout out loud
   so all can hear and he does this during examination times disrupting me, and he yells out,
   'Violeta, I wouldn't mess with you, you got a knife.' And after Vince had shouted that out a few
   times Jessica, Violeta increased the number of knives that she kept on her desk, and she also
   increased and intensified her harassment and violence against me until she slapped me. Violeta
   slapped me in the workplace, but you are not concerned at all about that. You are only concerned
   about trying to paint me, the six-foot medium build Black male, as the wrongdoer here. What
   about her slapping me? Alam Mohammed saw her do it. What about her threatening me?
   Didarul Mazumder saw her do that? But you do not consider those things disruptive, it'sjust
   me. You are hell bent on making me the bad guy while Violeta and Vince go free. And she is
   doing crazy things in the class that are disruptive. She is disrupting me, and I cannot focus. I
   cannot learn what I need to leam to do my job. Violeta is harassing me to distract me,
   intentionally and maliciously so. She sits in the front ofthe lectures, and she chews on her
   fingers Iike a starved cannibal until her finger tips bleed drops ofblood on the desk top. That's
   not her assigned desk. Someone else may sit at that desk at a later time, so that's a health hazard.
   But Violeta takes another finger and swipes up the blood droplet and licks and sucks her finger.
   That's disruptive! She caused Islam Muhammad to have to get up and go to the restroom
   because he was disturbed by Violeta. When he returns to the lab, he takes a sit in the back ofthe
   room where I was seated so that's disruptive to me. Violeta is the one disrupting the class by
   always telling me to "shut up" and doing crazy things that disturbs others and me. But Jessica,

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    you continue to accuse me for allegedly being disruptive. In your view, like Violeta's view, you
     cannot see Violeta as being disruptive, not at all. But I am not the one who put hair strands on
    MD's desk. The other week, Violeta plucked her hair strands from her head like this (l
    demonstrated Violeta's insane conduct). She then examined the hair strand, and I could see
     something White stuck to the hair stand. I do not know what that White things was, but it was
    clearly visible. After examining the hair strand, holding it at the ends, Violeta licked and sucked
    the strand ofher from end to end like someone sucking up a string ofspaghetti (l demonstrated
    how Ms. Prieto licked and sucked the hair strands). Then, Violeta sat the hair strands not on her
    desk but on MD's desk. She forced him to get up irom that desk and to then come and sit in a
    desk adjacent to the one where I sat thereby disturbing me during lecture time. So, that's
    disruptive. Jessica, you act as if I am the only one not supposed to be free from distraction to
    learn what I need to learn here. I am not the 'disruptive one' your Violeta is the disruptive one.
    She forced MD to move from his desk iat the front of the classroom to come and sit in the only
    empty desk next to me. He disturbed me when he touched my shoulder. I told him, "Dude,
    what's your deal? lt's not like that here. MD said, 'No, look.' and he pointed to Violeta pulling
    out her hair and sucking and licking the strands. There was a two-inch pile of licked and sucked
    hair not her desk but on MD's desk. I told MD, whispering, just don't look at her; she is nasty
     and, crazy. Tum sideways like this so you can't see her. MD turned as I had been tumed, i.e. at
    an angle seated in the desk. There was a moment of silence. But then I heard MD let out a
    muffled scream. I turned quickly and said, 'Come on dude, what's wrong now?' In a still-like
    shock, MD pointed to his hand. Violeta had placed one olher nasty, licked hair strands also on
    MD's hand." I looked directly into Ms. Rossi's eyes with a look of "you stop being prejudiced
    here, stop discriminating against me," and said, "One person, Violeta, is doing all ofthis, and
    yet to protect her, the White female, over the six-foot medium build Black male, me, you
    continue 10 threaten me with stronger discipline including termination. That's unfair."
    Ms. Rossi responded saying, "Don't do that with your tongue." I replied, "Do what?" She
    answered, "Don't do that you did with your tongue." I responded to her demand, "Wait a minute
    . . . wait just one minute here . . . you mean to tell me that you cannot sit there and observe my
    demonstration of what Violeta is doing inside the classroom because it's too disruptive to you
   just to see it one time, but I am supposed to sit in the classroom while she is not only thatjust
    one time but doing that for the entire lecture time, Violeta is passive-aggressively attacking MD
    by putting her hairs on his desk and then causing him to disturb me. Violeta prevented me from
    leaming the lecture that day. Violeta attacked me each week has caused me not to be able to
   focus and do my job."

   Ms. Rossi, despite all that had been said, continued her defense of Ms. Prieto. Ms. Rossi stated,
   "Gregory, t do quirky things with my hair," and she put her hand in hair and twisted her hair as if
   she is such the "prettiest girl." l responded very quickly, "Yeah, but you do not do this," and I
   again imitated Violeta, emphasizing Violeta's licking and sucking her hair strands. I continued
   my defense stating, "Respectfully Jessica, your may superior, you're the Class Manager, so you
   can choose to see things whatever and whichever way you want despite there being witnesses to
   everything that I have stated. You intentionally and deliberately sit there and ignore the fact that
   I have infonned you of witnesses for everything that I complained out. Violeta is a bigot and
   likely a racist. She complains about me because I know more about the substantive patent law
   than she knows. That's her problem, her mommy and daddy taught her that Black people are not
   smarter than she. So, I outscore her on every quiz, and she takes her quizzes open book, but I

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